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EXHIBIT O

ease 1:09-cv-00597-Li\/ie-TCB Document 323-16 Filed 10/23/09 Page 2 of 3 Pageiie# dad`?

Dickinson, Michel|e J.

From: isabel lVl Humphrey [isabe|@hhylaw.com]
Sent: Wednesday, October14, 2009 6:58 PlVl
To: Dicl<insonl l'vlichelle J.

Subject: RE: Loomis

l am told thatl should have the disks in my oche by Friday_

Regarding Jenni's deposition, the best date l can get from her is Nov. 4 (Wednesday}. As you have a local since
here, perhaps you can work remotely from Phoenix on the days in between depos’? Also, once you identify the 30
(b)(B) deponents, enabling us to identify the additional depositions we will needl it may turn out that one or more
of our deponents are in Arizona and we can work them in on those days

isabel lv'l. Humphrey` Esq.

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---~~ Original lVlessage -~--

From: "Dicl<insonl lVlichel|e J."

To: "lsabel N| Humphrey" , "Randy Yavitz"
Sent: 10!14/2009 12:11P|V|

Subject: Loomis

Counsel:

During our call on Thursday, October 9, 2009, you indicated that it was reasonable for us to expect to receive Joe
Loomis and Jenni Loomis' document production yesterday We did not. Piease advise today as to when you will
produce the documents

l\!lichelle

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directly, send to pcstrnaster@diapiper.corn. Thanl< you.

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(20091014)

Thc message Was checked by ESET NOD32 Antivirus.

10/'23/2()09

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